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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 33 of 81

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1 computer without authorization". In other words, if
2 you're allowed to be at the computer, it's okay, even 7
3 if you violate that terms of use. What’s wrong with
4 that?
5 MR. RIVELLESE: Well, if - - - if you're
6 committing crimes with the computer, that should be
7 enough to - ~ - ,
8 JUDGE SMITH: Well, you - - - well, you can
9 be prosecuted for the crimes you're committing, but
10 are you committing the crime of unauthorized use of a
11 computer, if, in fact, you are authorized to use the
$2 computer? |
13 MR. RIVELLESE: Well, if - - - if you know
14 that you're not authorized to use the computer
15 because you're using the computer to commit conduct
16 that you're not supposed to be using on it a= &
17 JUDGE SMITH: Like going on Facebook, for
18 example,
19 MR. RIVELLESE: Jf you knew for a fact you
20 weren't supposed to use a computer to do it, and you |
21 went and did it, you'd be violating that - - - that
22 term. |
23 JUDGE SMITH: ‘f'11 say a misdemeanor.
24 MR. RIVELLESE: But - - - but - - -

25

CHIEF JUDGE LIPPMAN: Counsel, but isn't

 

 

 
Case de eC Wel 52. OAH SHOMH =P STs SS :

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 34 of 81
33

 

 

1 the fact that we're going through these ~ ~ ~ these
2 scenarios, doesn’t it almost get to the point of
3 being a comedy and looking at what you're alleging
4 are crimes and when it is and when it isn't? Doesn't
5 it get to the point where it's almost, you know,
6 ludicrous? I mean, we're looking at this, and we're
7 here looking at criminal violations in the context of
8 the factual - - - the facts as we know it in this
9 case.
10 MR, RIVELLESE: Well, you can - ~ -
11 CHIEF JUDGE LIPPMAN: Almost etherealily
12 absurd,—l_quess,—is—what—1'm saying...
13 MR. RIVELLESE: What happened here is he
14 really got charged with everything that he could be
15 alleged to have done, whereas there was a very
16 central gravamen of crime, which was the
1% impersonating Schiffman, the stealing of Schiffman’s
18 identity, and pretending to be - - »
19 CHIEF JUDGE LIPPMAN: What's the crimes
20 that are most defensible to your from your point of
241 view? What's your strongest case against - - -
22 MR. RIVELLESE: Schiffman. Everything
23 against Schiffman, because he pretended to be him -
24
29 CHIEF JUDGE LIPPMAN: Everything that he

 

 

 

 
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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 35 of 81
34

1 had to do with Schiffman, because he was using his

2 name?

3 MR. RIVELLESE: Yes, he pretended to be

4 him. He convinced people he was him. UHe got

5 responses to his e-mails, believing that they were

6 responding to Schiffman, not just from the students,

7 but also from the Provost, informing defendant that

8 he was going to be referred to the proceedings to

9 determine whether he was a plagiarist. So he got
i0 responses indicating everyone thought he was
11 Schiffman.
4-2. Heothenocontinued to respond,.for example,
13 to the students he - - ~ he responded back. So he
14 was clearly orchestrating an identity theft, having
15 people believe he was Schiffman, in order to get
16 Schiffman, either fired, uninvited to the Jewish |
17 Museum, otherwise damage his career, and help his own
18 father. And that's - - - that's clearly every
19 element of the statute.
20 JUDGE GRAFFEO: That you feel is the
21 strongest proof on a crime in this case?
22 MR. RIVELLESE: Absolutely, and - - ~ and !
23 those are the most solid and central, and then the 7
24 other ones are the ones that are tangential, and also |
25 = = |

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 36 of 81
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il JUDGE SMITH: And the ones ~~ ™
2 JUDGE GRAFFEO: And for those crimes that
3 you - - - the Schiffman crimes that you've just
4 mentioned, what is it that crosses the line then from
5 the civil to the criminal? What makes it criminal
6 activity? Just to focus in on those crimes.
7 MR. RIVELLESE: The strongest thing is that
8 he's trying to convince other people that he is
9 someone other than who he is. He's stealing the
10 identity of Schiffman, pretending to be him, and
11 getting them to rely on that, by saying - ~- -
12. CHLEP JUDGE LIPPMAN: Counsel, what would
13 you advise someone who came to you? Would you advise
14 them to go get themselves a lawyer to sue, ox wena
15 you advise them to go to the prosecutor? In this
16 particular set of facts?
17 MR. RIVELLESE: Well - - -
18 CHIEF JUDGE LIPPMAN: Put - - - take off
19 your hat for a second, and - - -
209 MR. RIVELLESE: Well, given what happened
_ 24 to Schiffman, the prosecutor - - ~ that's clearly the
22 central and the most ~ - - |
23 CHIEF JUDGE LIPPMAN: You would clearly say !
24 go to a prosecutor; it's a criminal offense. |
25 MR. RIVELLESE: Yes.

 

 

 
CASE 11 Se CO 52 ZK eal he le tahlalaba tamnedeteentemaleshliarelelasayitarnebate Saree ——

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 37 of 81

CHIEF JUDGE LIPPMAN: These are criminal
offenses.
MR. RIVELLESE: Yes. And no, it's not an

A-I felony; it's not state prison, but it’s

or expect them to take actions based on your
deception, not based on your personally saying what
you think, but pretending to be someone else,

confessing to something that they did or did not do,

—and-contess—toe—a—erime—either

 

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definitely wrong. If you pretend to be someone else,

get people to believe you, and have them take actions

because you can't pretend to be a criminal defendant

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You have to be honest about who you are.

That's the real gravamen of the offense. It's not

doesn't matter; he could be right about that. But
he's saying that Schiffman is confessing to
plagiarism and pretending that he is Schiffman
confessing. Judge Rivera mentioned that before, I
think.

If you're pretending to be someone and
confess to something that person did, that's the
dishonesty there. It's not that the person may or
may not have done the thing, it's that they didn't

really confess to it; you did.

 

 

that he's alleging that someone’s a plagiarist. That

 

 
Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 38 of 81

 

 

37
1 CHIEF JUDGE LIPPMAN: Okay, thanks,
2 counsel.
3 MR. RIVELLESE: Thank you.
4 CHIEF JUDGE LIPPMAN: Counsel, rebuttal?
5 MR. KUBY: Yes, thank you. First of all,
6 it is state prison. The ~ - ~ he's convicted of one
7 felony, the identity theft in the second degree. The
8 prosecution asked for one and a third to four years.
9 Judge - - - Justice - - - former Justice Berkman, in
10 her infinite kindness, only gave him six months. So
11 we are talking state prison here.
me JUDGE—SMELRH+—1s————-_>_ i s_six_monthsso
13 very harsh for this - - ~ wasn't this a vicious thing
14 to do to try to ruin a man like this?
15 MR. KUBY: If - - - if you start with the
16 assumption that this is a good man - - -
17 JUDGE SMITH: Suppose - ~ - suppose a
18 mediocre man like everyone else, is it “~~ -
19 MR. KUBY: Or - - - or - - - or maybe a bad
20 man, telling the truth about a bad man ina specific
21 way, is that a bad thing to do? I don't know. T'm
22 sort of okay with it. You're not. That's fine.
23 That's fine. But we're talking about the use of the
24 criminal sanction - — —
25 JUDGE SMITH: I mean, if - ~ - if - - -

 

 

 

 
 

 

 

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 39 of 81
38

4 yeah, I mean ~ —- ~ I suppose, yeah.

2 MR. KUBY: Yeah.

3 JUDGE SMITH: You aren't really saying it’s

4 okay to do it to bad people, and not good people, are

5 you?

6 MR. KUBY: No, IT - ~ - I - ~ ~ I'm saying

Th that ~ - = that if you sat here and ~ - ~ and you

8 believed that in fact, Schiffman was a rank

9 plagiarist and had ripped off the work of many other

10 scholars, it would have did - - <- different
11 atmospherics and moreover, it never would have been !
12 broughtoincthe first place, because =o =
3 JUDGE PIGOTT: Well, so, if you - - - if
14 you - - - if you say I'm A-Rod, and I admit that I

15 did drugs and I - - - you know, and I'm really sorry
16 about it, and I wish I conld give the money back to

1? | the Yankees, you don't see a problem with that?

18 ‘ MR. KUBY: Well, I ~ ~ ~ I don't actually
19 see a criminal problem with that for the same reason
20 there's not a criminal problem here. Exactly the
21 same situation. Schiffman makes this confession.
22 What happens isn't the university fires Schiffman;
23 he's confessed 2) piaGiacisnt. - The record reveals
24 they said to him, hey, this looks weird; is this you?
25 He says, no, it's not me.

 

 

 

 
 

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“Fre 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 40 of 81

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1 JUDGE SMITH: But suppose he's not going to
2 sue ~ ~ ~ he ~ - ~ he ~ - ~ he did do it, I guess, to
3 a tenured professor. Suppose he - — ~ suppose he
4 gets mad at some poor adjunct who has to make 4
5 living and does the same thing, shouldn't the adjunct
6 be protected by the criminal law?
7 MR. KUBY: The - - ~ the adjunct is - - -
8 is protected by the way things actually work on
9 Planet Earth. Nobody gets fired in - - ~ in the real
10 world based on a Gmail account, where they confess to
11 something that you haven't asked.
12 CHIEF .JUDGE LIPPMAN; But is it, counsel -
13 ==
14 JUDGE RIVERA: But is that - - - is that
15 what had to happen, that he would have had to have
16 been fired that - - ~ you have to actually have that
17 as the result?
18 MR. KUBY: No, no, you don't actually have
19 to have that, and - - - and even - - -
20 JUDGE RIVERA: What if his reputation is
21 tarnished in the institution? Nobody actually
22 believes him even if he ~ - =
23 MR. KUBY: But if want to go - - —
24 JUDGE RIVERA: - - - he's found not guilty.
De) MR. KUBY: If we want to go back and

 

 

 

 

 

 
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care 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 41 of 81
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1 resurrect criminal libel in the Internet era, then we
2 can do that. But ~ ~ ~ but at least, since 1965, the
3 law has been these types of reputational harms - - —
4 CHIEF JUDGE LIPPMAN: Counsel - - -
5 MR. KUBY: - ~ ~ are beyond the scope of
6 criminal law.
7 CHIEF JUDGE LIPPMAN: Counsel, is your
8 basic argument that in the practical common-sense |
9 world, these are not crimes in the year 2014? And -
10 ~ = and if that is your argument, why is it that you
11 think that they've chosen to prosecute? That they
T2 chose-to-prosecute-the-defendant?
13 MR. KUBY: Yes, it is my argument, Judge
14 Lippman. And as we say in our brief, this type of
15 Internet impersonation, causing people to think it's
16 the real person, is absolutely ubiquitous in American
17 public life. !
18 CHIEF JUDGE LIPPMAN: But why ~ ~ ~ but why
19 did they choose to prosecute this?
20 MR. KUBY: JI can give you a dehors the
21 record answer. |
22 CHIEF JUDGE LIPPMAN: Go ahead. ;
23 MR. KUBY: Because according, at least, to
24 Larry Schiffman when he gave an interview, what
25 happened was, he was upset about this, and - - - and
|

 

 

 
 

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 42 of 81

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things weren't happening enough, so he contacted one
of his pals in the FBI, because he had done forensic
work for the FBI in the past.

The FBI hooked him up with the prosecutor,
and - - - and unfortunately, both Robert Morgenthau,
the former New York County District Attorney with his
long relationship to the Skirball Center, and
Lawrence Schiffman with his long relationship to the
Skirball Center, had a lot of sort of overlapping
types of relationships.

And the assumption was that this guy, who

 

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the plea that was offered, which is, hey, a single
misdemeanor and three years probation.

CHIEF JUDGE LIPPMAN: Okay, counsel, thank
you both.

MR, KUBY: All right.

CHIEF JUDGE LIPPMAN: Appreciate it.

(Court is adjourned)

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really—has—no—power,—no_authority, would just take |

 
 

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 43 of 81
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a CERTIFICATION

4 I, Karen Schiffmiller, certify that the

5 foregoing transcript of proceedings in the Court of
6 Appeals of People v. Raphael Golb, No. 72, was

7 prepared using the required transcription equipment

8 and is a true and accurate record of the proceedings.

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Case 1:15-cv-05871-LAP Document 16-1 File

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5/09/16 Page 44 of 81

 

Exhibit B

 

 
 

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 46 of 81

 

  

 

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 47 of 81

 

 

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 48 of 81

 

 

 

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 49 of 81

 

 

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 50 of 81

 

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 51 of 81

Case 1:1 B=CV-0A 2 ZK Dace ea berelend

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 52 of 81

 

 

 

 

 

 
 

 

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 53 of 81

 

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Case Scv.05271.

 

 

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 55 of 81

 

 

 

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 56 of 81

 

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 57 of 81

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 58 of 81

 

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 59 of 81

 

 

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 60 of 81

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 61 of 81

 

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 62 of 81

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 64 of 81

 

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 65 of 81

 

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 66 of 81

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 67 of 81

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 68 of 81

 

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 69 of 81

 

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 70 of 81

 

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 71 of 81

 

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 72 of 81

 

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 73 of 81

 

 

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 74 of 81

 

 

 

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 75 of 81

 

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 76 of 81

 

 

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 77 of 81

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 78 of 81

 

 

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 79 of 81

 

 

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Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 80 of 81

 

 
Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 81 of 81

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Case 1:15-cv-05871-LAP Document 16-2 Filed 05/09/16 Page 1 of 61

 
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@ 1:15-cv-05871-LAP Document 16-2 Filed 05/09/16 Page 2 of 61

Exhibit C

 

 
   

Case 1:15-cv-05871-LAP Document 16-2 Filed 05/09/16 Page 3 of 61

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NATIONAL CRIME VICTIM LAW INSTITUTE 310 SW 4th Ave.. Suite 540, Mariiancd, OR 97204
NEW YORK VICTIMS’ RIGHTS LAWS!

    

Constitution

New York does not have a victims' rights amendment to its constitution.

McKinney’s Executive Law; Article 23, Fair Treatment Standards for Crime Victims
§ 640 — Fair Treatment Standards for Crime Victims

1. The commissioner of the division of criminal justice services, in consultation with the
director of the office of victim services and other appropriate officials, shall promulgate
standards for the treatment of the innocent victims of crime by the agencies which
comprise the criminal justice system of the state.

2. For the purposes of this atticle the term “criminal justice” shall include juvenile justice and
the objectives and criteria set forth in sections six hundred forty-one and six hundred forty-
two_of this.article shall apply to presentment agencies as defined in subdivision twelve of
section 301.2 of the family court act.

§ 641 ~- Objectives of Fair Treatment Standards
The object of such fair treatment standards shall be to:

1. Ensure that crime victims routinely receive emergency social and medical services as soon
as possible and are given information pursuant to section six hundred twenty-five-a of this
chapter on the following:

(a) availability of crime victim compensation;

(b) availability of appropriate public or private programs that provide counseling,
treatment or support for crime victims, including but not limited to the following: rape
crisis centers, victim/witness assistance programs, elderly victim services, victim

assistance hotlines and domestic violence shelters;

(c) the role of the victims in the criminal justice process, including what they can expect
from the system as well as what the system expects from them; and

(d) stages in the criminal justice process of significance to a crime victim, and the manner
in which information about such stages can be obtained,

 

* Not intended to be exhaustive.

 
Case 1:15-cv-05871-LAP Document 16-2 Filed 05/09/16 Page 4 of 61

2. Ensure routine notification of a victim or witness as to steps that law enforceinent officers
or district attorneys can take to protect victims and witnesses from intimidation.

3. Ensure notification of victims, witnesses, relatives of those victims and witnesses who are
minors, and relatives of homicide victims, if such persons provide the appropriate official
with a current address and telephone number, either by phone or by mail, if possible, of
judicial proceedings relating to their case, including:

(a) the arrest of an accused;

(b) the initial appearance of an accused before a judicial officer;

(c) the rélease of an accused pending judicial proceedings; and

(d) proceedings in the prosecution of the accused including entry of a plea of guilty, trial,
sentencing, but prior to sentencing specific information shall be provided regarding the
right to seek restitution and reparation, and where a term of imprisonment is imposed,

specific information shall be provided regarding maximum and minimum terms of such
imprisonment.

 

§ 642 — Criteria for Fair Treatment Standards
Such fair treatment standards shall provide that:

|. The victim of a violent felony offense, a felony involving physical injury to the victim, a
felony involving property loss or damage in excess of two hundred fifty dollars, a felony
involving attempted or threatened physical injury or property loss or damage in excess of
two hundred fifty dollars or a felony involving larceny against the person shall, unless he
or she refuses or is unable to cooperate or his or her whereabouts are unknown, be
consulted by the district attorney in order to obtain the views of the victim regarding
disposition of the criminal case by dismissal, plea of guilty or trial. In such a case in which
the victim is a minor child, or in the case of a homicide, the district attorney shall, unless
the family refuses or is unable to cooperate or his, her or their whereabouts are unknown,
consult for such purpose with the family of the victim. In addition, the district attorney
shall, unless he or she (or, in the case in which the victim is a minor child or a victim of
homicide, his or her family) refuses or is unable to cooperate or his, her or their
whereabouts are unknown, consult and obtain the views of the victim or family of the
victim, as appropriate, concerning the release of the defendant in the victiin's case pending
judicial proceedings upon an indictment, and concerning the availability of sentencing
alternatives such as community supervision and restitution from the defendant. The failure
of the district attorney to so obtain the views of the victim or family of the victim shall not
be cause for delaying the proceedings against the defendant nor shall it affect the validity
of a conviction, judgment or order,

 

2. The victims and other prosecution witnesses shall, where possible, be provided, when
awaiting court appearances, a secure waiting area that is separate from all other witnesses,

2-a. (a) All police departments, as that term is defined in subdivision a of section eight
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3.) Law enforcement agencies and district attorneys om eturn property held for

Case 1:15-cv-05871-LAP Document 16-2 Filed 05/09/16 Page 5 of 61

hundred thirty-seven-c of this chapter, district attorneys’ offices and presentment
agencies, as that term is defined in subdivision twelve of section 301.2 of the family
court act, shall provide a private setting for interviewing victims of a crime defined in
article one hundred thirty or section 255.25, 255.26, or 255.27 of the penal law, For
purposes of this subdivision, "private setting” shall mean an enclosed room from
which the occupants are not visible or otherwise identifiable, and whose conversations
cannot be heard, from outside such room. Only (i) those persons directly and
immediately related to the interviewing of a particular victim, (ii) the victim, (iil) a
social worker, rape crisis counselor, psychologist or other professional providing
emotional support to the victim, unless the victim objects to the presence of such
person and requests the exclusion of such person from the interview, and (iv) where
appropriate, the parent or parents of the victim, if requested by the victim, shall be
present during the interview of the victim.

(b) All police departments, as that term is defined in subdivision a of section eight hundred
thirty-seven-c of this chapter, shall provide victims of a crime defined in article one
hundred thirty of the penal law with the name, address, and telephone of the nearest
rape crisis center in writing.

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evidentiary purposes unless theret elling r 1 ining it relating to proof at
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trial.

4. The victim or witness who so requests shall be assisted by law enforcement agencies and

district attorneys in informing employers that the need_for victim-and.witness.cooperation
in the prosecution of the case may necessitate absence of that victim or witness from work.
In addition, a victim or witness who, as a direct result of a crime or of cooperation with
law enforcement agencies or the district attorney in the investigation or prosecution of a
crime is unable to meet obligations to a creditor, creditors or others should be assisted by
such agencies or the district attorney in providing to such creditor, creditors or others
accurate information about the circumstances of the crime, including the nature of any loss
or injury suffered by the victim, or about the victim's or wilness' cooperation, where
appropriate.

— we) Victim assistance education and training, with special consideration to be given to victims

of domestic violence, sex offense victims, élderly victims, child victims, and the families
of homicide victims, shall be given to persons taking courses at state law enforcement i
training facilities and by district attorneys so that v ictims may be promptly, properly and
completely assisted. — ee a

§ 642a — Fair Treatment of Child Victims as Witnesses

To the extent permitted by law, criminal justice agencies, crime victim-related agencies, social
services agencies and the courts shall comply with the following guidelines in their treatment of
child victims:

1. To minimize the number of times a child victim is called upon to recite the events of the

case and to foster a feeling of trust and confidence in the child victim, whenever
practicable and where one exists, a multi-disciplinary teain as established pursuant to

 
